Case 1:03-cr-00203-GJQ             ECF No. 443, PageID.472       Filed 03/29/06     Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION




UNITED STATES OF AMERICA,

                      Plaintiff,
                                                            Case No. 1:03cr203
v.
                                                            HON. GORDON J. QUIST
DARRELL MITCHELL;
KEVIN E. MITCHELL;
BARBARA JEAN MITCHELL;
MARCUS LOFTON;
LATISHA SYLVESTER;
and LORENZO WEBB,

                      Defendants.
                                             /

                   ORDER GRANTING ENDS OF JUSTICE CONTINUANCE

              Before the Court are Motions for Ends of Justice Continuance, filed by counsel
for Defendants. The Court finds that the ends of justice are served and the granting of a
continuance outweighs the best interests of the public and the defendant in a speedy trial, 18
U.S.C. § 3161(h)(8)(A). Therefore,

            IT IS ORDERED that the Motions for Ends of Justice Continuance are
GRANTED for the following reasons:

               An interlocutory appeal having been recently decided, counsel
               require additional time in which to prepare for trial.

               IT IS FURTHER ORDERED that the final pretrial conference, currently scheduled
for March 30, 2006 at 4:00 p.m., is rescheduled to take place on May 22, 2006 at 3:00 p.m.
Jury selection and trial scheduled to take place on April 11, 2006 at 8:30 a.m., is rescheduled to
commence on June 6, 2006 at 8:30 a.m. Counsel is expected in chambers at 8:30 a.m. on the
morning of jury selection.




                                              /s/Gordon J. Quist
                                             Hon. Gordon J. Quist
                                               U.S. District Judge

Dated: March 29, 2006
